                 Case 4:02-cr-00094-BSM Document 69 Filed 04/13/12 Page 1 of 5
                                                                                            FILED
                                                                                          Us DISTRICT COURT
PROS 12C
ED/AR (212005)
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                                                                                           APR 13 2012
                                    United States District Court
                                                 for the
                                       Eastern District of Arkansas         By:~...-~~~W.~~~ffi[K
                          Petition for Warrant for Offender Under Supervision

 Name of Offender: James Edward Jackson                        Case Number: 4:02CR00094-001 BRW
 Name ofSentencin:g Judicial Officer:     Honorable Billy Roy Wilson
                                          United States District Judge
 Offense:                  Possession with Intent to Distribute more than 5 grams of Cocaine Base
 Date of Sentence:         November 21,2002
 Sentence:                 84 months Bureau of Prisons, 4 years supervised release, mandatory drug
                           testing, substance abuse treatment, and $100 special penalty assessment

                          March 3, 2008: Sentence of imprisonment reduced to time served under
                           I8 U.S.C. 3582(c)(2), and immediately enter and complete residential
                          substance abuse treatment followed by chemical free living, all provisions of
                          judgment dated November 21, 2002, shall remain in effect

                          March 24, 2008: Revoked, 6 months Bureau of Prisons, 36 months
                          supervised release, mandatory drug testing, substance abuse treatment, and
                          $100 special penalty assessment

                           September 29, 2009: Revocation hearing continued for 45 days due to
                           offender being in detox

                          November I 0, 2009: Revocation hearing continued to November 25, 2009,
                          due to offender reportedly being in residential treatment

                          November I 0, 2009: Revocation hearing continued to December 18, 2009,
                          due to offender reportedly being in residential treatment until November 28,
                          2009

                          January 26, 20IO: Revoked, I3 months Bureau of Prisons, 36 months
                          supervised release, mandatory drug testing, substance abuse treatment, and
                          $I 00 special penalty assessment.


Type of Supervision:      Supervised Release       Date Supervision Commenced: December 1, 2010
                                                   Expiration Date: November 30, 2013
Asst. U.S. Attorney: John Ray White                Defense Attorney: To be assigned


U.S. Probation Officer: Paul A. Washington
Phone No.: 501-604-5282
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Prob 12C                                           -2-                          Petition for Warrant for
                                                                            Offender Under Supervision

James Edward Jackson                                            Case Number: 4:02CR00094-001 BRW


                                    PETITIONING THE COURT

The offender has violated the following condition(s) of supervision:

Condition     Nature ofNoncompliance



General       The defendant shall not commit another federal, state, or local crime.
              On May 25, 20i 1, the defendant was arrested and charged with possession of marijuana
              second offense and possession of xanax.

              According to the fact statement provided by the Pulaski County Prosecuting Attorney's
              office, a detective of the Little Rock Police Department applied for, and received a
              search warrant for the defendant's residence located at 2522 S. Cross Street, in Little
              Rock.

              On May 25,2011, members of the Little Rock Police Department executed the search
              warrant for the residence. Upon arrival, detectives located James Jackson, and his wife
              inside the residence. The following items were seized and later stored as evidence: A
              box ofbaggi.es, and a scale, located in a kitchen drawer, 2 scales, three bags of green
              vegetable matter and green vegetable located on the dinning room table, four pills located
              in a bedroom dresser, $2,073.00 in currency, located by the detective in pants pocket on
              the living room floor, a bag of green vegetable matter and green vegetable matter located
              on the south bedroom night stand, and a bag of green vegetable matter and green
              vegetable matter located on the south central bedroom bed.

              A field test was performed on a small portion of the green vegetable matter and received a
              positive reaction for marijuana.

              Mr. Jackson was transported to the Little Rock Police Department where he was advised
              of his rights. Mr. Jackson advised he understood his rights and signed the form and the
              waiver of rights, but did not give a formal statement. He was charged with possession of
              marijuana (second offense) and possession ofxanax and transported to Pulaski County
              Detention and held. He was released to a $3000 bond. This case was filed direct to
              Pulaski County Circuit Court in Dkt. No. CRII2385 as possession of controlled
              substance (two counts) and possess/ use deliver drug paraphernalia. A hearing is
              scheduled for April18, 2012.

              On January 9, 2012, Mr. Jackson failed to appear for court in Pulaski County Circuit
              Court and was charged in Dkt. No. CR-12-65. A hearing in this matter is scheduled for
              April18, 2012.
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Prob 12C                                         -3-                           Petition for Warrant for
                                                                           Offender Under Supervision

James Edward Jackson                                          Case Number: 4:02CR00094-001 BRW


             On February 16, 2012, an arrest warrant was issued for Mr. Jackson due to the below
             listed unrelated charges. This warrant was served on February 23, 2012. Mr. Jackson is
             currently detained at the Pulaski County Jail.

             According to the narrative infonnation provided by the Pulaski County Prosecuting
             Attorney's Office, a search warrant was obtained by the Little Rock Police Department for
             a residence located at 1623 Marion, in North Little Rock.

             On December 16, 2011, the Little Rock Police Department assisted by the North Little
             Rock Police executed the warrant. Upon entry to the residence, Mr. Jackson and his
             wife were found in a south bedroom of the residence. Also in the home were the
             defendant's mother, Aleen Daniels (4:CR00153) and four other individuals in various
             locations.

             A search was initiated and revealed mail addressed to Mr. Jackson's mother, a red tub
             containing loose marijuana, a silver grinder, zig- zag wraps, Swisher Sweet cigars, an
             empty plastic bag, a Glock .45 caliber handgun, and a Glock .40 caliber handgun
             magazine. It should be noted records checks revealed the Glock handgun to be stolen.

             James Jackson and his mother were transported to the North Little Rock Police
             Department to be processed. Mr. Jackson, post Miranda, advised that he purchased the
             Glock handgun from a unknown black male on the street comer around October for his
             wife to have protection.

             It should be noted that the place of arrest is Mr. Jackson's mother's residence where Mr.
             Jackson also reported he resides. Mr. Jackson's mother was also arrested this day and
             charged with maintaining a drug premises, possession of drug paraphernalia (2 counts),
             and possession of a controlled substance. Charges were filed in Pulaski County Circuit
             Court against Mr. Jackson for possession of firearms by certain persons and theft by
             receiving (Dkt. No. CR-12-463) on February 24, 2012, and he is scheduled for plea and
             arraignment on April9, 2012.

            The defendant shall not illegally possess a controlled substance.
            On May 25,2011, Mr. Jackson was arrested and charged with possession of marijuana
            second offense and possession of xanax: There was evidence found in the residence
            including narcotics, which would suggest that Mr. Jackson was illegally in possession of
            controlled substance.
'   '              Case 4:02-cr-00094-BSM Document 69 Filed 04/13/12 Page 4 of 5

        Prob 12C                                          -4-                           Petition for Warrant for
                                                                                    Offender Under Supervision

        James Edward Jackson                                           Case Number: 4:02CR00094-001 BRW


                     The defendant shall not possess a firearm, destructive device, or any other
                     dangerous weapon.
                     On December 1, 2011, Mr. Jackson was arrested and charged with possession of
                     firearms by a certain person, and theft by receiving. His statement to the police that he
                     purchased the weapon would indicate that he possessed the above mentioned handgun.

                     The defendant shall not frequent places where controlled substances are iUegally
                     sold, used, distributed, or administered.
                     On May 25, 2011, the defendant was arrested and charged with possession of marijuana
                     second offense and possession of xanax. There was evidence found in the home where
                     Mr. Jackson was arrested, including narcotics that is associated with the sale,
                     distribution and use of controlled substances.

                     The defendant shall refrain from any unlawful use of a controlled substance.
                     On February 15, 2011, Mr. Jackson reported to the probation office and submitted a drug
                     screen which tested positive for marijuana. He signed an admission of drug use form
                     acknowledging he smoked marijuana on February 9, 2011.

                     On February 22, 2011, Mr. Jackson reported to the probation office and submitted a drug
                     screen which tested positive for marijuana.

                     On April 5, 2011, Mr. Jackson reported to the probation office and submitted a drug
                     screen which tested positive for marijuana.

                     On May 6, 2011, Mr. Jackson reported to the probation office and submitted a drug
                     screen which tested positive for marijuana.

                     On October 24,2011, Mr. Jackson reported to the probation office and submitted a drug
                     screen which tested positive for marijuana, cocaine, and Opiates. He signed an admission
                     of drug use form acknowledging he smoked marijuana, powder cocaine, and
                     Hydrocodone.

        Special      The defendant shall participate, if deemed necessary by the probation officer, in a
                     substance abuse treatment program which may include testing, outpatient
                     counseling, and/or residential treatment. The defendant shall abstain from the use
                     of alcohol throughout the course of treatment.
                     Mr. Jackson failed to report for code-a-phone drug testing on February 7, March 11,
                     March 28, April 18, 2011. Mr. Jackson failed to attend scheduled group counseling
                     through Recovery Centers of Arkansas on October 6, October 13, December 1, and
                     December 15,2011, and January 5, 2012, and was discharged unsuccessfully
                     March 9, 2012 due to his failure to attend as scheduled.
. '                 Case 4:02-cr-00094-BSM Document 69 Filed 04/13/12 Page 5 of 5

      Prob l2C                                            -5-                         Petition for Warrant for
                                                                                  Offender Under Supervision

      James Edward Jackson                                            Case Number: 4:02CR00094-001 BRW


      Based on Mr. Jackson's continued non-compliance with his conditions of supervision, criminal
      behavior and recent arrests, he would be considered a danger to the community as well as himself. It is
      requested that a warrant be issued in the form of a detainer and a revocation hearing held. Mr. Jackson
      was previously represented by Defense Attorney, Teresa Bloodman. The Government is represented by
      Assistant U.S. Attorney John Ray White.



      I declare under penalty of peljury that the foregoing
      is true and correct.

      Executed on      2 .-( 2. -        It-



       Paul A. Washington
       U.S. Probation Officer
       Date:     3 ,.../]. ..   I   Z.

      This form is to be filed with Criminal Docketing as a motion.

      Approved:



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      Supervising U.S. Probation Officer

      PAW

      c: Assistant U.S. Attorney John Ray White, P.O. Box·1229, Little Rock, AR 72203
